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 5                              UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
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     DOMINICK MEMOLO,
 8                                                           Case No.: 2:20-cv-01403-APG-NJK
            Plaintiff,
 9                                                                         ORDER
     v.
10                                                                     [Docket No. 40]
     SMITH’S FOOD & DRUG CENTERS, INC,
11   et al.,
12          Defendants.
13         Pending before the Court is the parties’ stipulation to extend the date for filing the joint
14 pretrial order. Docket No. 40. As in their previous filings, the parties seek to reopen some
15 aspect of discovery without making the required showing under the Local Rules. The Local
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16 Rules require not only a showing of good cause but also excusable neglect for why the
17 deadline was not properly met. See Local Rule 26-3. Nonetheless, in an effort to allow this
18 case to be decided on its merits, the Court GRANTS the parties’ request. The joint pretrial
19 order deadline is extended to November 15, 2021. The parties must strictly comply with all
20 requirements of the Local and Federal Rules in all future filings.
21         IT IS SO ORDERED.

22         Dated: October 20, 2021

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                                                                  Nancy J. Koppe
24                                                                United States Magistrate Judge

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             The Court’s Local Rules explicitly state that the appearance of a new attorney does not
28 constitute good cause. See Local Rule IA 11-6.

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